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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES INSTITUTE OF PEACE, et al.,

             Plaintiffs,

                                                     Case No. 1:25-cv-00804-BAH

       v.


 KENNETH JACKSON, et al.,

              Defendants.


             MOTION PURSUANT TO THE ALL WRITS ACT
                 FOR A STATUS CONFERENCE AND
       TO SUSPEND TRANSFER OF INSTITUTE PROPERTY TO GSA

      The duly-appointed President and Directors of the U.S. Institute of Peace,

Plaintiffs in the above-captioned matter, respectfully invoke the Court’s authority

under the All Writs Act, 28 U.S.C. § 1651 (a), to order Defendants to suspend any

action in response to an undated resolution directing Defendant Nate Cavanaugh (as

purported Institute President) to transfer all of the Institute’s property to the General

Services Administration until this Court has the opportunity to resolve the issues

before it concerning lawful control of the Institute. The proposed transfer of the

Institute’s property —including the building constructed with substantial private

funding and private donations from its Endowment, as permitted by 22 U.S.C.

§ 4604(h)(3)—has the potential substantially to impair this Court’s jurisdiction to

grant relief to Plaintiffs. Additionally, or in the alternative, Plaintiffs request that

the Court schedule a status conference to address this issue as soon as practicable.
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      Plaintiffs are mindful that the Court denied their emergency motion for a

Temporary Restraining Order, and do not seek reconsideration of that ruling. They

seek relief now simply to preserve the status quo with regard to the Court’s

jurisdiction to grant relief if it determines that the removal of the vast majority of the

Institute’s directors was unlawful, and that the Defendants’ ensuing actions that

purport to be taken in the name of and by the authority of the Institute were unlawful

as well.

      1. The Institute is a non-profit corporation with a juridical identity distinct

from the federal government; among other things it has the capacity to sue and be

sued in its own name. 22 U.S.C. §§ 4603(b), 4604(a), (k).

      2. On March 17, 2025, the Institute and certain duly appointed Directors filed

this action to prevent DOGE from seizing physical control of the Institute’s premises

and property. The Plaintiffs’ Complaint disputes the validity of emails purporting to

remove all of the Institute’s directors duly appointed under 22 U.S.C. § 460(b)(4), as

contrary to the plain terms of 22 U.S.C. § 4605(f). The Complaint asserts that the

purported removal of the Institute’s duly appointed president, Ambassador George

E. Moose, was unlawful as was the entry of DOGE staff into the Institute’s building

contrary to the directions of Ambassador Moose.

      3. Plaintiffs sought an immediate TRO, which the Court denied by a minute

order on March 19, 2025.

      4. Under the expedited schedule set by the Court, Plaintiffs filed an Amended

Complaint on March 24, 2025. The Amended Complaint adds Ambassador Moose and
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an additional Board member as named Plaintiffs. Plaintiffs are in the process of

drafting summary judgment papers, which they will file on Friday, April 4.

      5. Despite this Court’s assertion of jurisdiction over the issues raised in this

matter, however, Defendants are continuing in their unlawful efforts to dismantle

the Institute before the Court has the opportunity to resolve this dispute over rightful

control of the Institute and its property. As of March 28, Defendants have fired all or

nearly all of the Institute’s staff employed at its headquarters building. See Abigail

Hauslohner & Derek Hawkins, DOGE Fires Nearly All Staff at U.S. Institute of Peace

Headquarters, Washington Post (Mar. 29, 2025), https://www.washingtonpost.com/—

national-security/2025/03/29/doge-usip-peace-institute-fired/.

      6. On Sunday, March 30, 2025, Plaintiffs learned of an undated Resolution

signed by two of the ex officio directors of the Institute (Defendants Hegseth and

Rubio) that purports, as of March 25, 2025, to remove Kenneth Jackson as acting

president of the Institute and appoint Defendant Nate Cavanaugh in his stead. The

Resolution goes on to direct Defendant Cavanaugh “to transfer USIP’s assets,

including USIP’s real property and rights thereof, and including all assets recently

received from the Endowment, to the General Services Administration (GSA).” Exh.

A.

      8. If Defendant Cavanaugh executes the transfer of the Institute’s assets as

directed in the Resolution, that transfer will present a serious risk of gravely

impairing this Court’s jurisdiction to remedy the Defendants’ unlawful seizure of

control over the Institute.   The real property that belongs to the Institute as a
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statutory non-profit corporation will be held by GSA, in which event Defendants are

likely to contend that Plaintiffs’ only recourse is to file a new complaint under the

Quiet Title Act. 28 U.S.C. § 2409a. The Quiet Title Act would prevent the Institute

from promptly regaining control over its building, even if the Court awarded

summary judgment on the Amended Complaint, because the Quiet Title Act

expressly bars entry of a preliminary injunction affecting the ownership of real

property.

      9. Likewise, transfer of the Institute’s personal property, including financial

assets derived from its Endowment, to GSA would likely mean that Defendants will

contend that Plaintiffs’ only recourse to recover those assets —which include private

donations for specified purposes—would be to seek relief from the Court of Federal

Claims under the Tucker Act. 28 U.S.C. § 1346(a); 28 U.S.C. § 1491.

      10. This Court has the authority to enter all writs in aid of its jurisdiction,

including to preserve jurisdiction over real and personal property, the ownership and

control of which is subject to this dispute. 28 U.S.C. § 1651; see, e.g., FTC v. Dean

Foods Co., 384 U.S. 597, 605 (1966) (Court of Appeals with statutory jurisdiction to

review a challenged merger had All Writs Act authority to enjoin the consummation

of the merger to preserve the status quo pending review “upon a showing that an

effective remedial order, once the merger was implemented, would otherwise be

virtually impossible, thus rendering the enforcement of any final decree of divestiture

futile”); Al-Anazi v. Bush, 370 F. Supp. 2d 188, 195 (D.D.C. 2005) (pursuant to the All

Writs Act, court may “enjoin almost any conduct which, left unchecked, would have
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the practical effect of diminishing the court’s power to bring the litigation to a natural

conclusion” (cleaned up) (quoting Klay v. United Healthgroup, Inc., 376 F.3d 1092,

1102 (11th Cir. 2004)); FTC v. Americans for Fin. Reform, 720 F. App’x 380, 383 (9th

Cir. 2017) (district court had All Writs Act authority to restrain imminent sale of a

trailer); United States v. Catoggio, 698 F.3d 64, 69 (2d Cir. 2012) (district court

properly used All Writs Act to restrain criminal defendant’s assets pending

anticipated order of restitution); United States v. Abdelhadi, 327 F. Supp. 2d 587, 600

(E.D. Va 2004) (issuing order pursuant to All Writs Act restraining criminal

defendant’s ability to sell, transfer, or decrease the value of property subject to a

restitution order).

      11. On Sunday evening, March 30, 2025, Plaintiffs’ counsel sent the attached

email correspondence to counsel for the Defendants seeking confirmation that the

Defendants would not take action to transfer the Institute’s property to the GSA

pending resolution of the issues presently pending before this Court. Exh. B. As of

this morning, Defendants have not provided the requested confirmation. Under the

circumstances, the Plaintiffs seek a status conference before the Court at its earliest

convenience to address the issues raised by the Resolution that seeks to dispose of

the Institute’s property before this Court has the opportunity to rule on the legality

of the actions that Defendants have taken thus far, including the removal of Plaintiffs

from their positions with the Institute in a fashion that is contrary to statute and the

nature of the Institute as an independent, charitable corporation.
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                              Respectfully submitted,

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                              Counsel for Plaintiffs




Dated: March 31, 2025
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of March, 2025, I caused the foregoing to

be filed electronically with the Clerk of the Court using CM/ECF, which will then

send a notification of such filing to all counsel of record.



                                          /s/ Andrew N. Goldfarb
                                          Andrew N. Goldfarb
                                          Counsel for Plaintiffs
